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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                    Case No. 03-CR-81123-DT
                                                      Case No. 05-CV-71617-DT

MARCO HIGH,

              Defendant.
                                                 /

       ORDER DENYING PETITIONER’S MOTION TO VACATE, SET ASIDE, OR
                CORRECT SENTENCE UNDER 28 U.S.C. § 2255

        Pending before the court is Defendant Marco High’s April 25, 2005 motion filed

under 28 U.S.C. § 2255 to vacate his sentence. For the reasons set forth below, the

court will deny Defendant’s motion.

                                   I. BACKGROUND

        Defendant was indicted by a federal grand jury on December 23, 2003. The

indictment charged him with being a felon in possession of a firearm, possession with

attempt to distribute marijuana, and possession of a firearm in furtherance of a drug

trafficking crime, in violation of 18 U.S.C. § 922(g)(1), 21 U.S.C. § 841(a)(1) and 18

U.S.C. § 924(c). Defendant was convicted of counts two and three based on his guilty

plea pursuant to a Rule 11 plea agreement.

        The Rule 11 agreement provided that Defendant would plead guilty to counts two

and three of the indictment, and that count one would be dismissed by the government

following the court’s acceptance of Defendant’s plea and sentencing. The Rule 11
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agreement’s factual statement provided in relevant part that “[D]efendant Marco High . .

. possessed firearms, to wit: one Norinco SKS, semi-automatic assault weapon, on

Rossi .357 revolver; and one Colt .22 caliber revolver, in furtherance of the drug

trafficking crime of possession with intent to distribute marijuana on or about November

18, 2003.” ) (4/26/04 Rule 11 Agreement at 2-3) The Rule 11 agreement also contained

a provision wherein Defendant agreed to waive his right to appeal except as to a

sentencing finding of the court “to the extent it results in a sentence greater than the

maximum described in para. 2 of this agreement, but only if such finding or conclusion

differs from what is contained in the attached stipulated worksheets.” (Id. at 6).

       During his plea hearing, Defendant testified that he fully understood and agreed

with the terms of the Rule 11 agreement. He acknowledged that no one had forced or

threatened him to sign it, and that no one had made any promises not contained in the

Rule 11 agreement itself or done anything improper in his view. (4/26/04 Plea Hr’g Tr.

at 21). On July 27, 2004, the court imposed a sentence of 122 months imprisonment

followed by supervised release.

       Defendant now seeks a modification of his sentence, claiming (1) that his

attorney was ineffective for (a) advising a plea of guilty when the indictment did not

specify that the firearm possessed was an assault weapon, (b) not advising Defendant

to take the case to trial, (c) not filing a notice of appeal or a motion to seek to withdraw

the guilty plea since the sentence of 120 months is invalid as a matter of law, and (2)

that the absence of an indictment specification of the rifle as a semi-automatic assault

weapon rendered the indictment defective.




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                                     II. STANDARD

       Under 28 U.S.C. § 2255, a prisoner sentenced by a federal court may “move the

court which imposed the sentence to vacate, set aside or correct the sentence” when

“the sentence was imposed in violation of the Constitution or laws of the United States,

or that the court was without jurisdiction to impose such sentence, or that the sentence

was in excess of the maximum authorized by law, or is otherwise subject to collateral

attack.” 28 U.S.C. § 2255. Such motions, however, must demonstrate “the existence of

a fundamental defect which inherently results in a complete miscarriage of justice, or an

omission inconsistent with the rudimentary demands of fair procedure” in order for relief

to be obtained. United States v. Todaro, 982 F.2d 1025, 1030 (6th Cir. 1993) (citing Hill

v. United States, 368 U.S. 424, 428 (1962)).

                                    III. DISCUSSION

       In order to successfully prove a claim for ineffective assistance of counsel,

Defendant must demonstrate “that counsel’s performance was deficient” and “that the

deficient performance prejudiced the defense.” Strickland v. Washington, 466 U.S. 668,

687 (1984). A strong presumption that “counsel’s conduct falls within the wide range of

reasonable professional assistance” must be indulged. Id. at 689; see also Beasley v.

United States, 491 F.2d 687, 696 (6th Cir. 1974) (holding that the assistance of counsel

required under the Sixth Amendment is counsel “reasonably likely to render and

rendering reasonably effective assistance”). It is also important to note that “judicial

scrutiny of counsel’s performance must be highly deferential.” Strickland, 466 U.S. at

689.




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            A. Advising Defendant to Enter a Plea of Guilty, Not Advising
           Defendant to “take the case to trial,” and Alleged Absence of An
                       Indictment Specification as to the Rifle1

       Defendant’s first and second claims of ineffective assistance of counsel have, in

essence, the same basis: the attorney’s purported advice to plead guilty in the face of a

indictment that was “defective” because it failed to specify the nature of the firearm he

was charged with possessing. In addition, Defendant posits in his fourth claim that the

word “assault rifle” is required to be stated in the indictment in order to give him proper

notice of the enhanced mandatory minimum penalties under 18 U.S.C. § 924(c). These

claims are based on a faulty premise since Defendant was indeed charged specifically

in the indictment with possession of a “Norinco SKS Rifle” and the first of the listed

“assault weapons” found in 18 U.S.C. § 921(30)(A)(i), then in effect and since repealed,

provided that:

       "The term 'semiautomatic assault weapon' means – (A) any of the firearms, or
       copies or duplicates of the firearms in any caliber, known as – "(i) Norinco . . . ”

18 U.S.C. § 921(30)(A)(i).

       In addition, the designation of the Norinco as an “assault weapon” was

prominently noted in a worksheet attached to the Rule 11 agreement: “) POSSESSED

SEMI-AUTOMATIC ASSAULT WEAPON. PURSUANT TO 18 USC 924(C) 120

MONTHS MANDATORY.” (See Worksheet D, attached to 4/26/04 Rule 11 Agreement)

(emphasis added). Also, the factual statement contained in the body of the Rule 11

agreement provided in relevant part that “the parties stipulate to the following . . . as an


       1
           Plaintiff does not allege that his trial counsel was ineffective because of the
alleged absence of a rifle specification in the indictment, but the court will discuss
Plaintiff’s fourth claim here since it is related to Plaintiff’s first and second ineffective
assistance of counsel claims.

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accurate factual basis for [D]efendant’s guilty plea: . . . [D]efendant Marco High . . .

possessed . . . one Norinco SKS, semi-automatic assault weapon . . . in furtherance of

the drug trafficking crime of possession with intent to distribute marijuana on or about

November 18, 2003.” (4/26/04 Rule 11 Agreement at 2-3.)

       Defendant agreed that he had signed the agreement, and stated under oath that

he understood it, wanted to live by its terms and that he thought it was in his best

interest. His attorney stated on the record that she had gone over the agreement

carefully with not only Defendant but also his mother and other family members.

(4/26/04 Plea Hr’g. Tr. at 15).

       The indictment was not defective for failing to give notice of the assault weapon

character of the Norinco, and Defendant clearly acknowledged under oath his

awareness of the nature and presence of an “assault weapon” as he had in writing

before the plea hearing. Defendant’s ineffective assistance claims on that basis and his

complaint relating to the rifle specification are rejected.

 B. Failing to Seek to Withdraw Guilty Plea and Failing to File a Notice of Appeal

       Defendant next claims that he received ineffective assistance of counsel because

his lawyer failed to file a motion to withdraw his plea and failed to file a notice of appeal.

       The indictment is not defective, as noted above, and Defendant admitted all facts

necessary for the imposition of a 120-month mandatory minimum sentence. Because

there is no showing of actual prejudice, Defendant’s ineffective assistance claim fails.

See Beasley 491 F.2d at 697 (noting that “a court need not determine whether

counsel’s performance was deficient before examining the prejudice suffered by the

defendant as a result of the alleged deficiencies.”). The Supreme Court has instructed


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that “[i]f it is easier to dispose of an ineffectiveness claim on the ground of lack of

sufficient prejudice, which we expect will often be [the case], that course should be

followed.” Id.

       Defendant cannot satisfy his burden to show that his sentence would have been

different if his attorney had filed a motion to withdraw the guilty plea. The indictment

was not defective, as found above, and a conviction at trial would have resulted in a

greater, not lesser, sentence due to the likely absence of an adjustment in favor of

Defendant for acceptance of responsibility. See Lucas v. O’Dea, 179 F.3d 412, 418,

(6th Cir. 1999) (requiring “a reasonable probability that, but for counsel’s . . . errors, the

result of the proceeding would have been different.”).

       Defendant also cannot satisfy his burden to show that his sentence would have

been different if his attorney had filed a notice of appeal. Besides his failure to identify

the basis for his appeal, Defendant agreed in his Rule 11 agreement to waive his right

to appeal except as to a sentencing finding greater than the maximum described.

(4/26/04 Rule 11 Agreement at 6.) Therefore, it is unlikely that the Defendant would be

allowed to pursue his appeal.

       Defendant’s ineffective assistance claim based on these grounds will also be

rejected.




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                                            IV. CONCLUSION

        IT IS ORDERED that Defendant’s motion under 28 U.S.C. § 2255 to vacate

sentence [Dkt. # 1] is DENIED.



                                                      S/Robert H. Cleland
                                                     ROBERT H. CLELAND
                                                     UNITED STATES DISTRICT JUDGE


Dated: September 1, 2005


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, September 1, 2005, by electronic and/or ordinary mail.


                                                      S/Lisa G. Wagner

                                                     Case Manager and Deputy Clerk
                                                     (313) 234-5522




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